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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                                 Case No. 8:13-cr-108-T-30MAP

  GABRIEL JAMES BROWN, JR.


                      PRELIMINARY ORDER OF FORFEITURE

         The United States moves, pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. §

  2461(c), and Rule 32.2(b)(2), Federal Rules of Criminal Procedure, for a Preliminary

  Order of Forfeiture (Doc. 52) for the following firearm and ammunition: a Cobra CB,

  Big Bore Series, .380 caliber handgun (serial number obliterated) and Winchester

  .380 caliber ammunition. Being fully advised in the premises, the Court finds as

  follows:

         WHEREAS, the defendant has been convicted of possession of a firearm in

  furtherance of a crime of violence, as charged in Counts Nine and Eleven of the

  Superseding Indictment; and

         WHEREAS, the United States has established the requisite nexus between the

  defendant’s crimes of conviction and the property identified above, the government is

  now entitled to possession of the firearm and ammunition, pursuant to the provisions

  of 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2), Federal Rules

  of Criminal Procedure. Accordingly, it is hereby

         ORDERED that the motion of the United States (Doc. 52) is GRANTED.
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           Pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2),

  Federal Rules of Criminal Procedure, all right, title, and interest of defendant Gabriel

  James Brown, Jr., in the firearm and ammunition identified above are hereby

  FORFEITED to the United States of America for disposition according to law, subject

  to the provisions of 21 U.S.C. § 853, as incorporated by 28 U.S.C. § 2461(c).

           The Court retains jurisdiction to enter any order necessary for the forfeiture

  and disposition of the firearm and ammunition, and to address any third party

  interests that may be asserted in these proceedings.

           DONE and ORDERED in Tampa, Florida on September 19, 2013.




  Copies furnished to:
  All Counsel/Parties of Record
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